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SEE IT: Rikers Island inmate slashes correction officer's face in
latest assault on jail personnel

BY REUVEN BLAU
NEW YORK DAILY NEWS — Updated: Wednestlay, July 27, 2016, 544 PM

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A city correction officer was slashed in the face by an inmate who reached through the food slot of his cell Wednesday morning, video obtained by the Daily News shows.
The officer was attacked by inmate Jimny Lugo inside the Otis Bantum Correctional Center on Rikers Island at 11:17 a.m., records show.

Before the slashing, the unnamed officer talks to Lungo briefly in front of his cell before the detainee reaches out and cuts his left check, the video shows.

The attack is the latest ina series of assaults behind bars as Correction Department Commissioner Joseph Ponte struggles to stem a spike in violence.

 

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The unidentified alficer needed soveral stitches ta close the cut.

There have been at least three other attacks on officers over the past twa weeks, records show,
‘Lam outraged by this serious assault,” Ponte said. “Attacks against the hardworking: men and women who serve in our department will noc be Lolerated,”

The department is ying to gain approval from state lawonikers to use high-tech body scanners, he added

 

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Luo was immediately rearrested and fices additional charges, Ponte said.
The jail officers’ union has repeatedly blamed department brass:
“These inmates are emboldened because they simply do not fear the consequences of assaulting it member of law enforcement,” said Elias Husamudeen, president of the Correction

Officers Benevolent Association,
“Ollivers are being cut, stabbed, punched, kicked, and sexually assaulted, and in far too many instances, inmates are getting away with their crimes behind bars,” he added.

WH STEPHEN REX BROWN

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